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   , Case,I 3:13-cr-03481-BTM                     Document 271               Filed 04/28/14             PageID.1136              Page 1 of 5
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     'AO 24SB (CASD) (Rev. 4114) Judgment in a Criminal   c.e
               Shed 1
                                                                                                                                APR 28 2014
                                                                                                         I                           ,.....
                                                                                                                        CURie, u.s. DISTRICT 00WI1'
                                                                         ~ I.ERN DISTRICT OF OM.R ....
                                            UNITED STATES DISTRICT COURT irQ.                  a.IIIY
                                                SOUTHERN DISTRICT OF CALIFORNIA                                     - ,
                    UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                                       v.                                      (For Offenses Commiued On or After November 1, 1987)

                     ROBERT T. RODRIGUEZ [16)                                  Case Number: 13CR3481-BTM
                                                                                JASON CONFORTI

    REGISTRATION NO. S'0742053

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s)~I...:O..:.F_nrn..:..:....:.IND.:.:.-I...:CTMENT
                                                                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o was      found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title" Section                     Nature of Offense                                                                             Number',)
18 USC 1349                         CONSPIRACY TO COMMIT BANK FRAUD                                                                          1




           .· fendan.t sentenced as provided in pages 2 through
       Thede            i. s                                      5   of this judgment. The sentence is imposed pursuant
 to the~tenen.g Refonn Act of 1984.
 o   Tbedeferldaotbaa been found not guilty on count(S) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 D.Cowtt(S)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0                                             are
                                                                                                0 dismissed on the motion of the United States.
 I!SI ~: $100 to be ~within thirty (30) days.


 HFifte;waived                                        0 Forfeiture pursuant to order filed                                    , included herein.
        rr IS ()B;QEJlED that the defendant shall notify the United states Attorney for this district within 30 days of any change of name residence,
                                                                                                                                        j




.•,.. '*'....
 or . . . . . . . . . .vntn .u~.~n, costs, and special assessments imposed by this judgment are fully paid. If onJered to pay restitution, the
                    nqtifytbe court and u,llted States Attorney of any material change in the defendant's economic circumstances.
                                                                                APRIL 18,2014
                                                                               Date Of Impoaition Of seDtenc:e




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      AO 245B (CASD) (Rev. 4/14)    Judgment in a Criminal Case
                  Sheet 2 -   Imprisonment

                                                                                                             Judgment _ Page _ _2_ of      5
       DEFENDANT: ROBERT T. RODRIGUEZ [16]
       CASE NUMBER: 13CR3481-BTM
                                                                       IMPRISONMENT
               The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
                TIME SERVED.



            o Sentence imposed pursuant to Title 8 USC Section 1326(b).
            o The court makes the following recommendations to the Bureau of Prisons:


            o The defendant is remanded to the custody of the United States Marshal.
            o The defendant shall surrender to the United States Marshal for this district:
                 Oat                                       Da.m.          Dp·m.       on
                      as notified by the United States Marshal.

            o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                o     before
                               -------------------------------------------------------------------------
                o     as notified by the United States Marshal.
                o     as notified by the Probation or Pretrial Services Office.


                                                                             RETURN
       I have executed this judgment as follows :

               Defendant delivered on                                                            to

       at                                                         with a certified copy of this judgment.

~

.,•
1                                                                                                           UNITED STATES MARSHAL


                                                                                   By _____~~~~~~__~-__- - - - - -
                                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                                    13CR3481-BTM
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AO 245B (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 Supervised Release
                                                                                                              Judgment-Pagc --L- of _--=5;.....__
DEFENDANT: ROBERT T. RODRIGUEZ [16]
CASE NUMBER: 13CR3481-BTM                                                                             •
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.
o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a fIrearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000,.pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The derendant shall comply with tlie requirements of the Sex Offender'Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation offICer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confIScation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as direeted by the probation offICer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

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       AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
                  Sheet 4 - Special ConditioDli
                                                                                                         Judgment----Page --1.- of _~5_ _
       DEFENDANT: ROBERT T. RODRIGUEZ [16]
       CASE NUMBER: 13CR3481·BTM                                                                   •

                                             SPECIAL CONDITIONS OF SUPERVISION
!VI Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
101 a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and 1 to 8
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
(gI Not enter the Republic of Mexico without written permission of the Court or probation officer.
(gI Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic dru~ or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Remain in your place of residence for a period of 60 days, except while working at verifiable employment, attending religious services, or
    undergoing medical treatment or performing community service or any such other reasons approved by the probation officer. The defendant
    shall be subject to electronic monitoring, at his expense.


D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
D Provide complete disclosure of personal and business fInancial records to the probation officer as requested.
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
181 Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within         days.
(gI Complete 400 hours of community service in a program approved by the probation officer within 12 months.
o
181 Make restitution as set forth on page 5 ofthis Judgment.




                                                                                                                                13CR3481-BTM
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AO 245S      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                      Judgment - Page _ _5__ of             5
 DEFENDANT: ROBERT T. RODRIGUEZ (16)                                                           a
 CASE NUMBER: 13CR3481-BTM

                                                               RESTITUTION

The defendant shall pay restitution in the amount of _ _ _ _
                                                           $66_9_2_.9_4_ _ _ unto the United States of America.

          For distribution to the Bank of America



          This sum shall be paid _              immediately.
                                           JC   as follows:
            At the rate of $100 per month within 34 months, with the balance due thirty (30) days before the expiration of Supervised
            Release.




        The Court has determined that the defendant        does       have the ability to pay interest. It is ordered that:

              The interest requirement is waived.

    "         The interest is modified as follows:


            Interest waived if total paid in full within 34 months.




                                                                                                    13CR3481-BTM
